                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:13-cr-128-HSM-SKL
 v.                                                    )
                                                       )
 MILO E. GEIGER                                        )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the six count

 Superseding Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in

 Count One of the Superseding Indictment, that is of conspiracy to distribute a mixture and substance

 containing a detectable amount of cocaine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (3) adjudicate Defendant guilty of the lesser offense of

 the charge in Count One of the Superseding Indictment, that is of conspiracy to distribute a mixture

 and substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) ; (4) defer a decision on whether to accept

 the plea agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing

 in this matter [Doc. 279]. Neither party filed a timely objection to the report and recommendation.

 After reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation

 [Doc. 279] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding

                Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to the lesser offense of the charge in Count One of the



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             Superseding Indictment, that is of conspiracy to distribute a mixture and substance

             containing a detectable amount of cocaine, a Schedule II controlled substance, in

             violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

             One of the Superseding Indictment, that is of conspiracy to distribute a mixture and

             substance containing a detectable amount of cocaine, a Schedule II controlled

             substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, May 4, 2015 at 2:00 p.m. [EASTERN] before

             the Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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